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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY EMPLOYEES
 UNION, et al.,

 Plaintiffs,

 v.                                            Civil Action No. 25-0381 (ABJ)

 RUSSELL VOUGHT, in his official
 capacity as Acting Director of the
 Consumer Financial Protection Bureau,
 et al.,

 Defendants.

      JOINT MOTION FOR THE ENTRY OF A STIPULATED PROTECTIVE ORDER
          The Parties anticipate that confidential information, including documents or responses

containing personal information, may be exchanged between them during this litigation.

Accordingly, the Parties request that the Court adopt the Stipulated Protective Order attached

hereto.

DATED: April 22, 2025                        Respectfully submitted,

                                             YAAKOV M. ROTH
                                             Acting Assistant Attorney General

                                             BRAD P. ROSENBERG
                                             Special Counsel

                                             /s/ Liam C. Holland
                                             LIAM C. HOLLAND
                                             Trial Attorney
                                             United States Department of Justice
                                             Civil Division, Federal Programs Branch
                                             1100 L Street, N.W.
                                             Washington, DC 20005
                                             Tel: (202) 514-4964
                                             Fax: (202) 616-8470
                                             Email: liam.c.holland@usdoj.gov

                                             Counsel for Defendants
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                             /s/ Jennifer D. Bennett
                             Jennifer D. Bennett (pro hac vice)
                             Gupta Wessler LLP
                             505 Montgomery Street
                             San Francisco, CA 94111
                             (415) 573-0335

                             Counsel for Plaintiffs




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